                      IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                                EASTERN DIVISION


FIDELITY & GUARANTY LIFE
INSURANCE COMPANY,                                       Case No. 4:18-cv-00113

              Plaintiff,
                                                    COMPLAINT FOR INTERPLEADER
v.

MARY LEE KEECH, GLORIA HARRIS,
JOSEPH KEECH JR., JUDY KEECH, and
LORI CRAIG,

               Defendants.



       Plaintiff Fidelity & Guaranty Life Insurance Company (“Fidelity”), by and through its

undersigned counsel, brings this interpleader action pursuant to 28 U.S.C. § 1335 against Mary

Lee Keech, Gloria Harris, Joseph Keech, Jr., Judy Keech, and Lori Craig (collectively,

“Defendants”), and alleges as follows:

                                NATURE OF THE ACTION

       1.      This is an interpleader action to resolve competing claims among Defendants

regarding proceeds from decedent Joseph Thomas Keech’s (“Mr. Keech”) Fidelity annuity,

policy number MX00xxxx (the “Policy”), which will likely expose Fidelity to multiple liability.

                               JURISDICTION AND VENUE

       2.      Fidelity is a corporation organized under the laws of the State of Iowa with its

principal place of business in Des Moines, Iowa.

       3.      Upon information and belief, Defendant Mary Lee Keech is a citizen of the State

of North Carolina and resides in Washington, North Carolina.




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        4.       Upon information and belief, Defendant Gloria Harris is a citizen of the State of

Delaware and resides in Ocean View, Delaware.

        5.       Upon information and belief, Defendant Joseph Keech Jr. is a citizen of the State

of North Carolina and resides in Watha, North Carolina.

        6.       Upon information and belief, Defendant Judy Keech is a citizen of the State of

North Carolina and resides in Washington, North Carolina.

        7.       Upon information and belief, Defendant Lori Craig is a citizen of the State of

North Carolina and resides in Washington, North Carolina.

        8.       Jurisdiction of this action is proper in this Court under 28 U.S.C. § 1335. The

required diversity exists because Defendant Gloria Harris is a citizen of Delaware and the

remaining Defendants are citizens of North Carolina. See id. at § 1335(a)(1). In addition, the

Policy proceeds at issue exceed $500. See id. at § 1335(a). Finally, by this Complaint, Fidelity

seeks permission to deposit the Policy proceeds with the Court.

        9.       The Court has personal jurisdiction over all Defendants with respect to the Policy.

Pursuant to 28 U.S.C. § 2361, this Court may issue process to each of the Defendants and each of

the Defendants may be served where they reside or may be found.

        10.      Venue is proper in this Court under 28 U.S.C. § 1397 because Defendants Mary

Lee Keech, Judy Keech, and Lori Craig reside in this District.

                                   FACTUAL BACKGROUND

        11.      On or about October 2, 2014, Fidelity issued the Policy.

        12.      At the time the application for the Policy was taken, Mr. Keech designated his

wife, Mary Lee Keech, as the beneficiary of the Policy.




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        13.      On or about June 28, 2017, Mr. Keech submitted a change of beneficiary form to

Fidelity changing the beneficiary from his wife, Defendant Mary Lee Keech, to his four children,

Defendants Gloria Harris, Joseph Keech Jr., Judy Keech, and Lori Craig.

        14.      Mr. Keech died on August 1, 2017, approximately one month after he changed the

beneficiaries of the Policy.

        15.      After Mr. Keech’s death, his four children each submitted a claim to Fidelity for

the proceeds of the Policy.

        16.      Mr. Keech’s wife, Defendant Mary Lee Keech, and her attorney have also

contacted Fidelity regarding the Policy and asked that Fidelity withhold payment of the Policy

proceeds until issues regarding Ms. Keech’s entitlement are resolved.

        17.      As such, there are competing claims to the Policy proceeds.

        18.      As of October 2017, the proceeds of the Policy totaled approximately $82,000.

        19.      Fidelity is a non-liable, disinterested stakeholder with respect to the proceeds

from the Policy and is exposed to the possibility of double or multiple liability by Defendants’

competing claims.

        20.      Fidelity stands ready, willing, and able to pay the proceeds of the Policy, but the

Defendants’ competing claims have created doubt and uncertainty as to which of the

Defendant(s) has/have the legal rights to those proceeds.

        21.      Fidelity may be prejudiced if it pays the proceeds of the Policy to one or some of

the Defendants, in the absence of clear guidance from the Court as to which of the Defendant(s)

is/are legally entitled to the proceeds.

        22.      Fidelity is willing to deposit the proceeds or surrender the proceeds into the

registry of the Court.



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                                        PRAYER FOR RELIEF

WHEREFORE, Fidelity respectfully requests as relief the following order:

        a. Accepting deposit of the proceeds of the Policy into its registry;

        b. Restraining each Defendant from instituting any action against Fidelity for recovery

             of the Policy proceeds;

        c. Requiring Defendants to interplead their claims to the Policy or be forever barred

             from asserting those claims;

        d. Entering judgment establishing Defendants’ respective legal rights to the proceeds of

             the Policy;

        e. Discharging Fidelity from liability to each and every Defendant with respect to the

             Policy and its proceeds;

        f. Awarding Fidelity its reasonable attorneys’ fees and costs incurred in bringing this

             interpleader action; and

        g. Awarding Fidelity any further relief as the Court deems just and proper.



Dated: June 29, 2018.                         /s/Susan K. Burkhart
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